CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 1 of 9




                        EXHIBIT A
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 2 of 9
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 3 of 9
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 4 of 9
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 5 of 9
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 6 of 9
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 7 of 9
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 8 of 9
CASE 0:20-cv-01669-WMW-BRT Doc. 1-1 Filed 07/31/20 Page 9 of 9
